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                            UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION



CRYSTAL ARELLANO,
                                                Case No.: QM *M -           73 HU
                                                COMPLAINT;
               Plaintiff,
                                                FAIR DEBT COLLECTION PRACTICES
      vs.                                       ACT (15 USC § 1692a, et seq.);

FIRST CREDIT SERVICES, INC. dba                 DEMAND FOR JURY TRIAL
ACCOUNTS RECEIVEBALES
TECHNOLOGIES, INC.,

               Defendant.
                                  I. INTRODUCTION


      1.       This is an action for damages brought by an individual consumer for

Defendant's violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq. (hereinafter "FDCPA").

                                  H. JURISDICTION

      2.       Plaintiffs claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a "federal question" pursuant to 28 USC § 1331.

                                       m. PARTIES



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       3.      Plaintiff, Crystal Arellano ("Plaintiff"), is a natural person residing in

Washington County, Oregon.

       4.      Defendant, First Credit Services, Inc., ("Defendant") is a corporation

engaged in the business of collecting debts by use of the mails and telephone. Defendant

regularly attempts to collect debts alleged due another.

                           IV. FACTUAL ALLEGATIONS

       5.      Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C. §

1692a(6).

       6.      Plaintiff is a "consumer" as defined by the FDCPA, 15 U.S.C. § 1692a(3).

       7.      All activities of Defendant set out herein were undertaken in connection

with the collection of a "debt," as defined by 15 USC § 1692a(5).

       8.      Within the last year, Defendant took multiple actions in an attempt to

collect a debt from Plaintiff. Defendant's conduct violated the FDCPA in multiple ways,

including the following.

       9.      Repeatedly contacting Plaintiff at his/her place of employment after being

informed that such calls are inconvenient to Plaintiff and violate the policy of Plaintiffs

employer (§ 1692c(aXlX3)).

       10.     Causing Plaintiffs telephone to ring repeatedly or continuously with intent

to harass, annoy or abuse Plaintiff (§ 1692d(5)).

       11.     In connection with collection of a debt, using language the natural

consequence of which was to abuse Plaintiff. As a non-exclusive example of such


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behavior, a female representative of Defendant told Plaintiffto "stop running her mouth"

and hung up on her. When Plaintiff called back and asked to speak to a manager,

Defendant's female representative hung up on Plaintiff again (§ 1692d(2) & 1692d).

       12.      As a result of the aforementioned violations, Plaintiff suffered and

continues to suffer injuries to Plaintiffs feelings, personal humiliation, embarrassment,

mental anguish and severe emotional distress.

       13.      Defendant intended to cause, by means of the actions detailed above,

injuries to Plaintiffs feelings, personal humiliation, embarrassment, mental anguish and

severe emotional distress.

       14.      Defendant's actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to, known or highly probablerisks to purporteddebtors.

       15.      To the extent Defendant's actions, detailed in paragraphs 8-11, were carried

out by an employee ofDefendant, that employee was acting within the scope ofhis or her

employment.

   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       16.      Plaintiff reincorporates by reference all ofthe preceding paragraphs.

       17.      The preceding paragraphs state a primafacie case for Plaintiff and against

Defendant for violations ofthe FDCPA, §§ 1692d & 1692c.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:


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      A.      Declaratoryjudgment that Defendant's conduct violated the FDCPA;

      B.      Actual damages pursuant to 15 USC 1692k;

      C.      Statutory damages pursuant to 15 U.S.C. § 1692k;

      D.      Costs, disbursements and reasonable attorney's fees for all successful

claims, and any unsuccessful claims arising out of the same transaction or occurrence as

the successful claims, pursuant to 15 U.S.C. § 1692k; and,

      E.      For such other and further relief as may be just and proper.

              PLAINTCFF HEREBY REQUESTS A TRIAL BY JURY




                                             Dated this 20th day ofJanuary, 2011.


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